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                                                                                                 APPEAL

       UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF
               CALIFORNIA (Western Division − Los Angeles)
              CIVIL DOCKET FOR CASE #: 2:09−cv−02158−CJC

Ernest DeWayne Jones v. Kevin Chappell                         Date Filed: 03/27/2009
Assigned to: Judge Cormac J. Carney                            Jury Demand: None
Case in other court: 9th CCA, 14−56302                         Nature of Suit: 535 Death Penalty −
                     9TH CCA, 14−56373                         Habeas Corpus
Cause: 28:2254 Ptn for Writ of H/C − Stay of Execution         Jurisdiction: Federal Question
Petitioner
Ernest DeWayne Jones                            represented by Cliona R Plunkett
                                                               Habeas Corpus Resource Center
                                                               303 Second Street Suite 400 South
                                                               San Francisco, CA 94107
                                                               415−348−3800
                                                               Fax: 415−348−3873
                                                               Email: cplunkett@hcrc.ca.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Michael Laurence
                                                               Habeas Corpus Resource Center
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                                                               415−348−3800
                                                               Fax: 415−348−3873
                                                               Email: mlaurence@hcrc.ca.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Patricia C Daniels
                                                               Habeas Corpus Resource Center
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                                                               San Francisco, CA 94107
                                                               415−348−3800
                                                               TERMINATED: 07/07/2011
                                                               LEAD ATTORNEY
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                                                               Bethany Lobo
                                                               Habeas Corpus Resource Center
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                                                               Fax: 415−348−3873
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                                                               TERMINATED: 11/15/2013
                                                               ATTORNEY TO BE NOTICED


V.
Respondent
Kevin Chappell                                  represented by Herbert S Tetef
                                                               CAAG − Office of Attorney General of
                                                               California
                                                               300 South Spring Street Suite 1702
                                                               Los Angeles, CA 90013
                                                               213−897−0201
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                                                              ATTORNEY TO BE NOTICED

                                                              Sarah Jean Farhat
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                                                              California Department of Justice
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                                                              Fax: 213−897−6496
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                                                              ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
03/27/2009   1 EX PARTE APPLICATION for Appointment of Counsel; Request for Stay of
               Execution and Status Conference; Notice of Intention to File Petition for Writ to
               Habeas Corpus; and Declaration in Support, filed by petitioner Ernest DeWayne Jones.
               Lodged Proposed Order.(ghap) (Entered: 03/27/2009)
03/27/2009   2 NOTICE: this capital habeas corpus case was initiated on 3/27/09 and has been
               assigned to Judge Cormac J. Carney for all further proceedings. (ghap) (Entered:
               03/27/2009)
03/27/2009   3 ORDER by Judge James V. Selna: STAYING EXECUTION Upon request 1 of
               petitioner, through the Habeas Corpus Resource Center, and pursuant to LR
               83−17.6(a) and (c), IT IS HEREBY ORDERED that the execution of petitioner's
               sentence of death and any and all court and other proceedings related to the execution
               of that sentence, including preparation for execution and the setting of an execution
               date, are stayed pending final disposition of Ernest Jones's Petition for Writ of Habeas
               Corpus and throughout all appellate proceedings in this matter, and the stay of
               execution shall terminate when the mandate of the Ninth Circuit Court of Appeals is
               issued, filed and spread on the minutes of the United States District Court, unless
               otherwise ordered. (See document for further details.) (rla) Modified on 3/30/2009
               (rla). (Entered: 03/30/2009)
03/30/2009   4 NOTICE OF CLERICAL ERROR: Order 3 was issued by Judge James V. Selna.
               During the initial docketing of this Order 3 Judge Carmac J. Carney was erroneously
               reflected as the issuing judge. Docket text has been modified and now correctly
               reflects Judge Selna. (rla) Modified on 3/30/2009 (rla). (Entered: 03/30/2009)
03/31/2009   5 ORDER AMENDING ORDER STAYING EXECUTION by Judge Cormac J. Carney:
               IT IS HEREBY ORDERED that the execution of petitioner's sentence of death and
               any and all court and other proceedings related to the execution of that sentence,
               including preparation fro execution and the setting of an execution date, are stayed
               until ninety days after the date this Court appoints counsel to represent petitioner. (See
               document for further details.) IT IS SO ORDERED. (rla) (Entered: 03/31/2009)
03/31/2009   6 ORDER by Judge Cormac J. Carney, REFERRING MATTER TO DEATH
               PENALTY COMMITTEE FOR APPOINTMENT OF COUNSEL: Pursuant to Local
               Rule 83−17.4(a), this matter is hereby referred to the Death Penalty Committee to
               recommend qualified counsel to represent petitioner. IT IS SO ORDERED. (rla)
               (Entered: 03/31/2009)
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03/31/2009    7 Proof of Notification filed by Court(jal) (Entered: 03/31/2009)
04/06/2009    8 NOTICE of Appearance filed by attorney Herbert S Tetef on behalf of Respondent
                Robert K. Wong (Tetef, Herbert) (Entered: 04/06/2009)
04/14/2009    9 ORDER APPOINTING COUNSEL by Judge David O. Carter, IT IS HEREBY
                ORDERED that Michael Laurence and Patricia Daniels of Habeas Corpus Resource
                Center are appointed as counsel for petitioner Ernest DeWayne Jones in this action.
                The address and telephone number of counsel is 303 Second Street, Suite 400 South,
                San Francisco, California 94107, (415) 348−3800. IT IS SO ORDERED. (rla)
                Modified on 4/15/2009 (rla). (Entered: 04/15/2009)
04/15/2009   10 NOTICE OF CLERICAL ERROR Judge Cormac J. Carney was reflected on docket
                entry #9: Docket entry #9 has been modified to appropriately reflect Judge David O.
                Carter as the Judge that signed the Order Appointing Counsel 9 . (rla) (Entered:
                04/15/2009)
04/23/2009   11 ORDER by Judge Cormac J. Carney, OUTLINING PROCEDURES FOR
                LITIGATION OF CAPITAL HABEAS CASE: Central District of California has
                adopted its Plan for Budgeting and Case Management in Capital Habeas Cases, as
                required by the Judicial Council of the Ninth Circuit. This case shall be governed by
                the Plan. The parties shall appear at a case management conference on June 12, 2009
                at 10:30 a.m. following the issuance of this Order, to discuss implementation of a case
                management plan and budget for this case. (See document for details.) (rla) (Entered:
                04/23/2009)
05/14/2009   12 NOTICE OF DISCREPANCY AND ORDER: by Judge Cormac J. Carney,
                ORDERING Death Penalty Case; Stipulation and Request for Order Continuing Initial
                case Management Conference; Proposed Order received on 5/11/2009 is not to be filed
                but instead rejected. Denial based on: Pursuant to G.O. 08−02, Case designated for
                e−filing. (lwag) (Entered: 05/14/2009)
05/14/2009   13 STIPULATION to Continue Initial Case Management Conference from June 12, 2009
                to TBD filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed
                Order)(Laurence, Michael) (Entered: 05/14/2009)
05/18/2009   14 ORDER CONTINUING INITIAL CASE MANAGEMENT CONFERENCE by Judge
                Cormac J. Carney: Pursuant to the parties' stipulation 13 and for good cause shown, it
                is hereby ordered that the Initial Case Management Conference previously set for
                6/12/09 at 10:30 a.m. shall be continued to 7/17/2009 at 10:30 AM. IT IS SO
                ORDERED. (mu) (Entered: 05/22/2009)
07/02/2009   15 CONFIDENTIAL CASE EVALUATION FORM filed by Respondent Robert K.
                Wong (Tetef, Herbert) (Entered: 07/02/2009)
07/07/2009   16 NOTICE of Under Seal Filing filed Ernest DeWayne Jones (Laurence, Michael)
                (Entered: 07/07/2009)
07/07/2009   18 SEALED DOCUMENT − CONFIDENTIAL CASE EVALUATION FORM (smi)
                (Entered: 07/13/2009)
07/09/2009   17 STATUS REPORT (JOINT) filed by Respondent Robert K. Wong. (Tetef, Herbert)
                (Entered: 07/09/2009)
07/16/2009   19 MINUTES OF IN CHAMBERS ORDER RESETTING CASE MANAGEMENT
                CONFERENCE AS TO TIME ONLY held before Judge Cormac J. Carney: The Court
                hereby resets the case management conference from Friday, July 17, 2009 at 10:30
                a.m. to Friday, July 17, 2009 at 2:00 p.m. (mu) (Entered: 07/16/2009)
07/17/2009   20 MINUTES OF CASE MANAGEMENT CONFERENCE (Phase I) held before Judge
                Cormac J. Carney: Court and counsel confer regarding status of case. Mr. Laurence
                makes an oral request for an order to be issued for a stay of execution. Court grants the
                request and directs death penalty law clerk to prepare an order. Court schedules a
                status conference for June 21, 2010 at 3:30 p.m. Court Reporter: Maria Dellaneve.
                (mu) (Entered: 07/21/2009)
07/23/2009   21 MINUTES OF IN CHAMBERS ORDER RE PETITIONERS REQUEST FOR A
                STAY OF EXECUTION held before Judge Cormac J. Carney: Pursuant to the Patriot
                Act, Petitioner is entitled to a stay of execution for 90 days following the appointment
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                 of counsel but prior to the filing of the petition. See 28 U.S.C. § 2251(a). Following
                 the filing of the petition, Petitioner may request a stay of execution for the duration of
                 these federal habeas proceedings. (mu) (Entered: 07/24/2009)
09/23/2009   22 MINUTES OF IN CHAMBERS ORDER by Judge Cormac J. Carney: Petitioner's
                Budgeting Materials: Petitioner is directed to file his Phase I and II Budgeting
                Materials under seal on or before October 15, 2009. (rla) (Entered: 09/24/2009)
10/09/2009   23 NOTICE of Manual Filing filed by Petitioner Ernest DeWayne Jones of Petitioner's
                Phase I and II Budgeting Forms and Declaration of Counsel in Support. (Laurence,
                Michael) (Entered: 10/09/2009)
10/13/2009   24 SEALED DOCUMENT RE: CASE MANAGEMENT Plan and Budget for Phases I &
                II (Attachments: # 1 1, # 2 2) (ade) (Entered: 10/13/2009)
10/26/2009   25 SEALED DOCUMENT − ORDER (nbo) (Entered: 11/19/2009)
03/10/2010   26 APPLICATION for Writ of of Habeas Corpus filed by Petitioner Ernest DeWayne
                Jones. (Laurence, Michael) (Entered: 03/10/2010)
03/17/2010   27 MINUTES OF IN CHAMBERS ORDER held before Judge Cormac J. Carney, re:
                SETTING BRIEFING SCHEDULE: The Court is in receipt of the Petition 26 and now
                directs the parties to meet and confer. Within 30 days after the entry of this Order, the
                parties shall file a proposed briefing schedule regarding the direction of the litigation
                of this matter. Within 30 days of the filing of the proposed briefing schedule,
                Petitioner shall file his proposed Phase III budget. Pursuant to Local Rule 83−17.6 and
                28 U.S.C. § 2251(a), the Court issues a stay of execution for the duration of these
                federal habeas proceedings. IT IS SO ORDERED. (rla) (Entered: 03/17/2010)
04/06/2010   28 ANSWER to Petition for Writ of Habeas Corpus filed by Respondent Robert K.
                Wong.(Tetef, Herbert) (Entered: 04/06/2010)
04/06/2010   29 NOTICE OF LODGING filed re Answer to Complaint 28 (Tetef, Herbert) (Entered:
                04/06/2010)
04/08/2010   30 Joint STIPULATION for Order Re: Briefing Schedule filed by Respondent Robert K.
                Wong. (Attachments: # 1 Proposed Order)(Tetef, Herbert) (Entered: 04/08/2010)
04/12/2010   31 ORDER by Judge Cormac J. Carney, REGARDING JOINT STIPULATION RE:
                BRIEFING SCHEDULE 30 : The Joint Stipulation Re: Briefing Schedule 30 , lodged
                with the Court on April 8, 2010, is hereby adopted by this Court. The parties shall
                adhere to the filing deadlines set forth therein. The status conference previously set for
                June 21, 2010, at 3:30 p.m., is taken off calendar. IT IS SO ORDERED. (rla) (Entered:
                04/12/2010)
04/23/2010   32 NOTICE OF MOTION AND MOTION for More Definite Statement filed by
                Petitioner Ernest DeWayne Jones. Motion set for hearing on 5/24/2010 at 01:30 PM
                before Judge Cormac J. Carney. (Attachments: # 1 Proposed Order Granting Motion
                for More Definite Statement)(Laurence, Michael) Modified on 6/8/2010 (rla).
                (Entered: 04/23/2010)
04/26/2010   33 NOTICE of Manual Filing filed by Respondent Robert K. Wong of 1) Application to
                Lodge Probation Report Under Seal; 2) Proposed Order; 3) Probation Report. (Tetef,
                Herbert) (Entered: 04/26/2010)
04/28/2010   34 EX PARTE APPLICATION FOR ENLARGEMENT OF TIME to File Traverse and
                Phase III Budget filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order Enlarging Time to File the Traverse and Phase III Budget)(Laurence,
                Michael) (Entered: 04/28/2010)
04/29/2010   38 APPLICATION to Lodge Probation Report Under Seal; filed by respondent Robert K.
                Wong. (rla) (Entered: 05/10/2010)
04/29/2010   39 ORDER by Judge Cormac J. Carney: granting APPLICATION 38 . IT IS ORDERED
                that Petitioner's confidential probation report is lodged under seal. (rla) Modified on
                5/13/2010 (lwag). (Entered: 05/10/2010)
04/30/2010   35 MINUTES (IN CHAMBERS): ORDER by Judge Cormac J. Carney: ENLARGING
                TIME TO FILE TRAVERSE AND PHASE III BUDGET: 34 Ex Parte Application
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                  For An Order Enlarging The Time To File Traverse And Phase III Budget is HEREBY
                  GRANTED. Petitioner is ordered to file the Traverse and Phase III budget thirty (30)
                  days after respondent files a supplemental answer or, in the event that this Court denies
                  petitioner's motion, petitioner will file a traverse thirty (30) days after this Court's
                  order denying his motion. (rla) (Entered: 04/30/2010)
05/03/2010   36 OPPOSITION re: MOTION for More Definite Statement 32 filed by Respondent
                Robert K. Wong. (Attachments: # 1 Proposed Order)(Tetef, Herbert) (Entered:
                05/03/2010)
05/06/2010   37 MINUTES (IN CHAMBERS): ORDER by Judge Cormac J. Carney: Hearing
                calendared for May 24, 2010, is vacated and the matter is taken off calendar, as the
                Court finds that this matter is appropriate for decision without oral argument, re:
                Motion for More Definite Statement 32 . IT IS SO ORDERED. (rla) (Entered:
                05/06/2010)
05/10/2010   40 REPLY in Support of MOTION for More Definite Statement 32 filed by Petitioner
                Ernest DeWayne Jones. (Laurence, Michael) (Entered: 05/10/2010)
05/13/2010   41 NOTICE filed by Respondent Robert K. Wong. (NOTICE OF ERRATA) (Tetef,
                Herbert) (Entered: 05/13/2010)
05/13/2010   42 NOTICE OF LODGING filed (SUPPLEMENTAL) re Notice of Lodging 29 (Tetef,
                Herbert) (Entered: 05/13/2010)
06/08/2010   43 ORDER by Judge Cormac J. Carney: denying 32 Motion for More Definite Statement
                and Directing the Filing of Stipulation and Phase III Budget: Petitioner has thirty days
                from the date of this order to file a Traverse should he elect to file one. The parties also
                shall file within thirty (30) days of this order a stipulation setting forth a proposed
                briefing schedule for Petitioner's motion for an evidentiary hearing. The proposed
                briefing schedule should accommodate any discovery the parties intend to conduct
                prior to the filing of Petitioner's evidentiary motion. Finally, Petitioner shall file under
                seal within thirty (30) days of this order his Proposed Phase III Plan and Budget. IT IS
                SO ORDERED. (rla) (Entered: 06/08/2010)
06/08/2010   44 ORDER by Judge Cormac J. Carney, On Respondent's request, the Answer 28 filed by
                Respondent is deemed amended to replace all representations therein that Respondent
                denies or lacks sufficient knowledge to admit or deny the factual allegations with the
                following response: The state court record is the best evidence of the facts alleged in
                support of the claims in the federal Petition. Respondent hereby defers to the factual
                findings and evidence existing in the state court record. (rla) (Entered: 06/08/2010)
07/07/2010   45 NOTICE Notice of Manual Filing of Petitioner's Phase III Budgeting Forms and
                Declaration of Counsel filed by petitioner Ernest DeWayne Jones. (Daniels, Patricia)
                (Entered: 07/07/2010)
07/07/2010   46 STIPULATION for Discovery filed by petitioner Ernest DeWayne Jones.
                (Attachments: # 1 Proposed Order Proposed Order re Joint Briefing
                Schedule)(Daniels, Patricia) (Entered: 07/07/2010)
07/08/2010   48 SEALED DOCUMENT − PETITIONER'S PHASE III CASE MANAGEMENT &
                BUDGET FORMS AND DECLARATION OF COUNSEL IN SUPPORT REPORT
                (rla) (Entered: 07/13/2010)
07/12/2010   47 ORDER by Judge Cormac J. Carney, re Discovery and Joint Briefing Schedule 46 :
                The Joint Stipulation Re: Discovery and Joint Briefing Schedule lodged with the Court
                on July 7, 2010 is hereby adopted by this Court. The parties shall adhere to the filing
                deadlines set forth therein. (rla) (Entered: 07/12/2010)
07/28/2010   49 **DOCUMENT SEALED** ORDER APPROVING PHASE III BUDGET by Judge
                Cormac J. Carney (ade) (Entered: 07/30/2010)
11/01/2010   50 First EX PARTE APPLICATION FOR ENLARGEMENT OF TIME to File Motion
                for Evidentiary Hearing filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order Granting Extension of Time to File Motion for Evidentiary
                Hearing)(Laurence, Michael) (Entered: 11/01/2010)
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11/03/2010   51 ORDER re: Stipulation for Continuance of Hearing Date for Def.'s Motion for Partial
                Summary Judgment of Non−Infringement U.S. Patent No. 6298488. The hearing date
                originally scheduled for Nov. 22, 2010 for the DefendantsMotion for Partial Summary
                Judgment has been continued to Nov. 29, 2010. (See Order for further details) (db)
                (Entered: 11/04/2010)
11/03/2010   53 ORDER by Judge Cormac J. Carney: granting Ex Parte Application for Enlargement
                of Time to File His Motion for Evidentiary Hearing 50 . Petitioner is ordered to file a
                Motion on 1/4/11. (twdb) (Entered: 11/04/2010)
11/04/2010   52 NOTICE OF CLERICAL ERROR. Document 51 was posted to incorrect docket.
                Document has now been posted to correct docket. (db) (Entered: 11/04/2010)
12/28/2010   54 Second EXPARTE APPLICATION for Extension of Time to File Motion For
                Evidentiary Hearing filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order Proposed Order)(Daniels, Patricia) (Entered: 12/28/2010)
01/03/2011   55 ORDER by Judge Cormac J. Carney: GRANTING PETITIONER'S APPLICATION
                FOR A 30−DAY EXTENSION OF TIME TO FILE HIS MOTION FOR
                EVIDENTIARY HEARING 54 : Petitioner is ordered to file a Motion for Evidentiary
                Hearing on February 3, 2011. (rla) (Entered: 01/04/2011)
01/28/2011   56 Third EXPARTE APPLICATION for Extension of Time to File Motion For
                EvidentiaryHearing filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order Proposed Order)(Daniels, Patricia) (Entered: 01/28/2011)
01/31/2011   57 ORDER by Judge Cormac J. Carney: granting Petitioner's Ex Parte Application for a
                14−Day Extension of Time to File His Motion for Evidentiary Hearing 56 . Petitioner
                is ordered to file a Motion for Evidentiary Hearing on February 17, 2011. (mt)
                (Entered: 02/01/2011)
02/17/2011   58 First EX PARTE APPLICATION to Exceed Page Limitation Motion For Evidentiary
                Hearing filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed Order
                Propsed Order Granting Application For Oversized Brief)(Daniels, Patricia) (Entered:
                02/17/2011)
02/17/2011   59 NOTICE OF MOTION AND First MOTION for Hearing Evidentiary Hearing filed by
                Petitioner Ernest DeWayne Jones. (Attachments: # 1 Exhibit Volume 1 Of Exhibits In
                Support of Motion For Evidentiary Hearing, # 2 Exhibit Volume 2 Of Exhibits In
                Support of Motion For Evidentiary Hearing, # 3 Exhibit Volume 3 Of Exhibits In
                Support of Motion For Evidentiary Hearing, # 4 Exhibit Volume 4 Of Exhibits In
                Support of Motion For Evidentiary Hearing, # 5 Exhibit Volume 5 Of Exhibits In
                Support of Motion For Evidentiary Hearing, # 6 Exhibit Volume 6 Of Exhibits In
                Support of Motion For Evidentiary Hearing)(Daniels, Patricia) (Entered: 02/17/2011)
03/03/2011   60 ORDER GRANTING PETITIONERS APPLICATION TO FILE AN OVERSIZE
                MOTION FORAN EVIDENTIARY HEARING by Judge Cormac J. Carney: GOOD
                CAUSE APPEARING, petitioners Ex Parte Application To File Oversize Motion For
                An Evidentiary Hearing 58 is HEREBY GRANTED and the Motionis ordered filed.
                (mu) (Entered: 03/03/2011)
03/28/2011   61 NOTICE of Change of Attorney Information for attorney Sarah Jean Farhat counsel
                for Respondent Robert K. Wong. Adding Sarah J. Farhat as attorney as counsel of
                record for Robert K. Wong for the reason indicated in the G−06 Notice. Filed by
                Respondent Robert K. Wong (Farhat, Sarah) (Entered: 03/28/2011)
04/06/2011   62 IN CHAMBERS MINUTE ORDER VACATING BRIEFING SCHEDULE AND
                ORDERING SUPPLEMENTAL BRIEFING by Judge Cormac J. Carney: The Court
                vacates the current briefing schedule on Petitioners Motion for Evidentiary Hearing.
                On or before May 18, 2011, Petitioner shall file a Supplemental Brief addressing his
                entitlement to an evidentiary hearing in view of the Supreme Courts holding in Cullen
                v. Pinholster, 2011 WL 1225705 (April 4, 2011). (see document for details) (mu)
                (Entered: 04/06/2011)
05/17/2011   63 First EXPARTE APPLICATION for Extension of Time to File Supplemental Brief
                Addressing Petitioner's Entitlement To An Evidentiary Hearing filed by Petitioner
                Ernest DeWayne Jones. (Attachments: # 1 Proposed Order Proposed Order)(Daniels,
                Patricia) (Entered: 05/17/2011)
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05/19/2011   64 ORDER by Judge Cormac J. Carney, granting 63 Ex Parte Application for Extension
                of Time to File. GOOD CAUSE APPEARING, petitioner's Ex Parte Application For
                A 30−DayExtension Of Time To File A Supplemental Brief Addressing His
                Entitlement To An Evidentiary Hearing is HEREBY GRANTED. Petitioner is ordered
                to file a Supplemental Brief Addressing His Entitlement To An Evidentiary Hearing
                on or before June 17, 2011. IT IS SO ORDERED (dro) (Entered: 05/19/2011)
06/10/2011   65 Second EXPARTE APPLICATION for Extension of Time to File SUPPLEMENTAL
                BRIEF ADDRESSING HIS ENTITLEMENT TO AN EVIDENTIARY HEARING
                and PROPOSED ORDER filed by Petitioner Ernest DeWayne Jones.(Laurence,
                Michael) (Entered: 06/10/2011)
06/13/2011   66 ORDER by Judge Cormac J. Carney: granting 65 Ex Parte Application for Extension
                of Time to File a Supplemental Brief Addressing his Entitlement to an Evidentiary
                Hearing. Petitioner is ordered to file a Supplemental Brief Addressing His Entitlement
                To An Evidentiary Hearing on or before July 18, 2011. (twdb) (Entered: 06/14/2011)
07/07/2011   67 NOTICE of Change of Attorney Information for attorney Cliona R Plunkett counsel
                for Petitioner Ernest DeWayne Jones. Patricia C. Daniels will no longer receive
                service of documents from the Clerks Office for the reason indicated in the G−06
                Notice.Patricia C. Daniels is no longer attorney of record for the aforementioned party
                in this case for the reason indicated in the G−06 Notice. Filed by Petitioner Ernest D.
                Jones (Plunkett, Cliona) (Entered: 07/07/2011)
07/18/2011   68 Supplemental BRIEF filed by Petitioner Ernest DeWayne Jones. on the Effect of
                Cullen v. Pinholster on the Court's Power to Grant an Evidentiary Hearing regarding
                First MOTION for Hearing Evidentiary Hearing 59 . (Laurence, Michael) (Entered:
                07/18/2011)
08/11/2011   69 APPLICATION for Extension of Time to File Opposition to Petitioner's Supplemental
                Brief filed by Respondent Robert K. Wong. (Attachments: # 1 Proposed Order)(Tetef,
                Herbert) (Entered: 08/11/2011)
08/16/2011   70 ORDER by Judge Cormac J. Carney: granting 69 Application for Extension of Time to
                File. IT IS ORDERED that Respondent is granted to andincluding September 14,
                2011, in which to file an Opposition to PetitionersSupplemental Brief on the Effect of
                Cullen v. Pinholster on the Courts Power to Grant an Evidentiary Hearing. Petitioners
                Reply in support of his SupplementalBrief shall be filed by September 28, 2011.
                (twdb) (Entered: 08/16/2011)
09/14/2011   71 OPPOSITION TO PETITIONER'S SUPPLEMENTAL BRIEF ON EFFECT OF
                CULLEN v. PINHOLSTER filed by Respondent Robert K. Wong. (Tetef, Herbert)
                (Entered: 09/14/2011)
09/22/2011   72 EX PARTE APPLICATION FOR ENLARGEMENT OF TIME to File Reply to
                Respondent's Opposition to Petitioner's Supplemental Brief on the Court's Power to
                Grant an Evidentiary Hearing filed by Petitioner Ernest DeWayne Jones.
                (Attachments: # 1 Proposed Order)(Laurence, Michael) (Entered: 09/22/2011)
09/27/2011   73 ORDER by Judge Cormac J. Carney: GRANTING 72 Ex Parte Application for a
                30−Day Extension of Time to File a Reply to Respondent's Opposition to Petitioner's
                Supplemental Brief on the Court's Power to Grant an Evidentiary Hearing: Petitioner is
                ordered to file a Reply on or before October 28,2011. (rla) (Entered: 09/27/2011)
10/28/2011   74 Supplemental Reply BRIEF filed by Petitioner Ernest DeWayne Jones. on the Effect of
                Cullen v. Pinholster on the Court's Power to Grant an Evidentiary Hearing (Laurence,
                Michael) (Entered: 10/28/2011)
03/26/2012   75 ORDER by Judge Cormac J. Carney: DENYING WITHOUT PREJUDICE MOTION
                FOR EVIDENTIARY HEARING 59 . (See document for details.) Mr. Jones' motion
                for an evidentiary hearing is DENIED WITHOUT PREJUDICE. The parties shall
                submit a proposed merits briefing schedule on or before April 16, 2012. Petitioners
                merits briefing shall set forth how each claim satisfies section 2254(d)(1) and/or
                section 2254(d)(2) on the basis of the record that was before the state court that
                adjudicated the claim on the merits. (rla) (Entered: 03/26/2012)
04/12/2012   76 STATEMENT JOINT STIPULATION AND [PROPOSED] ORDER RE:
                SCHEDULE FOR MERITS BRIEFING UNDER 28 U.S.C. § 2254(d)(1) and
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                 2254(d)(2) filed by Petitioner Ernest DeWayne Jones (Plunkett, Cliona) (Entered:
                 04/12/2012)
04/16/2012   77 ORDER RE Schedule for merits briefing by Judge Cormac J. Carney, re joint
                stipulation 76 . Petitioner shall file his opening brief addressing how each claim
                satisfies 28 U.S.C. section 2254(d)(1) and/or (d)(2) on or before September 10, 2012,
                Respondent shall file an Opposition 90 days after Petitioners opening brief, and
                Petitioner shall file a Reply 60 days after Respondents Opposition. (twdb) (Entered:
                04/17/2012)
09/04/2012   78 APPLICATION for Extension of Time to File Opening Brief on the Application of 28
                U.S.C. Section 2254 filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order)(Laurence, Michael) (Entered: 09/04/2012)
09/05/2012   79 OPPOSITION Opposition re: APPLICATION for Extension of Time to File Opening
                Brief on the Application of 28 U.S.C. Section 2254 78 filed by Respondent Robert K.
                Wong. (Cook, David) (Entered: 09/05/2012)
09/06/2012   80 REPLY in Opposition to APPLICATION for Extension of Time to File Opening Brief
                on the Application of 28 U.S.C. Section 2254 78 filed by Petitioner Ernest DeWayne
                Jones. (Laurence, Michael) (Entered: 09/06/2012)
09/06/2012   81 MINUTES (IN CHAMBERS): ORDER by Judge Cormac J. Carney: GRANTING
                EXTENSION TO FILE OPENING BRIEF AND IMPOSING PAGE LIMIT 78 :
                Petitioner shall file his Opening Brief on or before December 10, 2012. All other
                briefing schedules from the Court's April 16, 2012 Order re: Scheduling for Merits
                Briefing under 2254(d)(1) and 2254(d)(2) shall remainin place.In addition, Petitioner's
                Opening Brief shall be limited to 100 pages; Respondent's Opposition shall be limited
                to 100 pages; and Petitioner's Reply shall be limited to 50 pages. (rla) (Entered:
                09/06/2012)
10/05/2012   82 Notice of Change of Attorney Information filed by Petitioner Ernest DeWayne Jones
                (Plunkett, Cliona) (Entered: 10/05/2012)
12/04/2012   83 EX PARTE APPLICATION to Exceed Page Limitation for Petitioner's Opening Brief
                on Section 2254(d) filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1
                Proposed Order)(Laurence, Michael) (Entered: 12/04/2012)
12/10/2012   84 BRIEF filed by Petitioner Ernest DeWayne Jones. Opening 2254(d) Brief on
                Evidentiary Hearing Claims (Laurence, Michael) (Entered: 12/10/2012)
12/10/2012   85 ORDER by Judge Cormac J. Carney: GRANTING EX PARTE APPLICATION TO
                FILE PETITIONER'S OPENING BRIEF ON SECTION 2254(D) IN EXCESS OF
                PAGE LIMITS 83 : Petitioner's opening brief shall be limited to 150 pages. (rla)
                (Entered: 12/11/2012)
03/01/2013   86 EX PARTE APPLICATION FOR ENLARGEMENT OF TIME to File Opposition to
                Petitioner's Opening 2254(d) Brief on Evidentiary Hearing Claims ; Declaration of
                Herbert S. Tetef filed by Respondent Robert K. Wong. (Attachments: # 1 Proposed
                Order)(Tetef, Herbert) (Entered: 03/01/2013)
03/06/2013   87 ORDER by Judge Cormac J. Carney: IT IS ORDERED that Respondent is granted to
                and including May 10, 2013, in which to file his Opposition to Petitioner's Opening
                2254(D) Brief on Evidentiary Hearing Claims. All other briefing schedules from the
                Court's April 16, 2012 Order re: Schedule For Merits Briefing Under 28 U.S.C.
                2254(d)(1) and 2254(d)(2) shall remain in effect. Granting 86 Ex Parte Application for
                Enlargement of Time to File. (rla) (Entered: 03/06/2013)
05/02/2013   88 EX PARTE APPLICATION FOR ENLARGEMENT OF TIME to File OPPOSITION
                TO PETITIONERS OPENING 2254(D) BRIEF ON EVIDENTIARY HEARING
                CLAIMS ; Declaration of Herbert S. Tetef filed by Respondent Robert K. Wong.
                (Attachments: # 1 Proposed Order)(Tetef, Herbert) (Entered: 05/02/2013)
05/07/2013   89 ORDER by Judge Cormac J. Carney: Granting 88 Ex Parte Application for
                Enlargement of Time to File. IT IS ORDERED that Respondent is granted to and
                including June 24, 2013, in which to file the Opposition to Petitioner's Opening
                2254(D) Brief on Evidentiary Hearing Claims. All other briefing schedules from the
                Court's April 16, 2012 Order re: Schedule For Merits Briefing Under 28 U.S.C.
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                   2254(d)(1) and 2254(d)(2) shall remain in effect. (rla) (Entered: 05/08/2013)
06/14/2013    90 EX PARTE APPLICATION to Exceed Page Limitation to File Opposition to
                 Petitioner's Opening 2254 (d) Brief on Evidentiary Hearing Claims filed by
                 Respondent Kevin Chappell. (Attachments: # 1 Proposed Order)(Tetef, Herbert)
                 (Entered: 06/14/2013)
06/14/2013    91 OBJECTIONS to Brief (non−motion non−appeal) 84 OPPOSITION TO
                 PETITIONERS OPENING 2254(D) BRIEF ON EVIDENTIARY HEARING CLAIMS
                 filed by Respondent Kevin Chappell. (Tetef, Herbert) (Entered: 06/14/2013)
06/19/2013    92 ORDER by Judge Cormac J. Carney: IT IS ORDERED that Respondent is granted
                 leave to file his Opposition to Petitioners Opening 2254(d) Brief on Evidentiary
                 Hearing Claims in excess of 100 pages, not to exceed 170 pages. Granting 90 Ex Parte
                 Application for Leave to File Excess Pages. (rla) (Entered: 06/20/2013)
08/02/2013    93 First APPLICATION for Extension of Time to File 2254(d) Reply Brief filed by
                 Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed Order)(Plunkett,
                 Cliona) (Entered: 08/02/2013)
08/05/2013    94 ORDER by Judge Cormac J. Carney: granting 93 Application for Extension of Time to
                 File. Petitioner is ordered to file an Opening Brief on theApplication of 28 U.S.C. §
                 2254(d) on or before November 12, 2013. (twdb) (Entered: 08/06/2013)
11/08/2013    95 Second APPLICATION for Extension of Time to File Reply Brief on Application of
                 2254(d) filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed
                 Order)(Plunkett, Cliona) (Entered: 11/08/2013)
11/12/2013    96 ORDER by Judge Cormac J. Carney: granting 95 Application for Extension of Time to
                 File A Reply Brief. (twdb) (Entered: 11/13/2013)
11/15/2013    97 Notice of Appearance or Withdrawal of Counsel: for attorney Cliona R Plunkett
                 counsel for Petitioner Ernest DeWayne Jones. Bethany Lobo is no longer attorney of
                 record for the aforementioned party in this case for the reason indicated in the G−123
                 Notice. Filed by Petitioner Ernest Dewayne Jones. (Plunkett, Cliona) (Entered:
                 11/15/2013)
01/07/2014    98 Third APPLICATION for Extension of Time to File 2254(d) Brief on
                 Non−Evidentiary Hearing Claims filed by Petitioner Ernest DeWayne Jones.
                 (Attachments: # 1 Proposed Order)(Plunkett, Cliona) (Entered: 01/07/2014)
01/09/2014    99 ORDER by Judge Cormac J. Carney granting 98 Petitioner's Third Ex Parte
                 Application for Extension of Time to File a Reply Brief. Petitioner Ernest Dewayne
                 Jones's third ex parte application for additional time to file a reply brief on the
                 application of 28 U.S.C. § 2254(d) to the claims in his habeas petition, (Dkt. No. 98),
                 is GRANTED. Petitioner shall file his brief no later than January 27, 2014. No further
                 requests for an extension will be granted. (dro) (Entered: 01/10/2014)
01/27/2014   100 REPLY Brief Re: Application of 28 USC 2254(d) filed by Petitioner Ernest DeWayne
                 Jones. (Plunkett, Cliona) (Entered: 01/27/2014)
01/27/2014   101 APPLICATION to Exceed Page Limitation Reply Brief Re: Application of 28 USC
                 2254(d) filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed
                 Order)(Plunkett, Cliona) (Entered: 01/27/2014)
01/30/2014   102 ORDER by Judge Cormac J. Carney: granting 101 Application for Leave to File
                 Excess Pages. Petitioners reply brief shall be limited to 265 pages. (twdb) (Entered:
                 01/30/2014)
04/10/2014   103 ORDER RE: BRIEFING AND SETTLEMENT DISCUSSIONS by Judge Cormac J.
                 Carney: The Court believes that briefing and oral argument are necessary and
                 appropriate on petitioners potential claim. Accordingly, the Court sets the following
                 briefing and hearing schedule: 1. The parties shall serve and file simultaneous opening
                 briefs which address the issues raised in this Order no later than June 9, 2014.(see
                 document for complete details) (mu) (Entered: 04/10/2014)
04/14/2014   104 ORDER by Judge Cormac J. Carney: Directing Petitioner to File Amendment to
                 Petition. See document for further details. (mba) (Entered: 04/14/2014)
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04/28/2014   105 First Amended Petition for Writ of Habeas Corpus (Plunkett, Cliona) (Entered:
                 04/28/2014)
06/05/2014   106 STATEMENT Joint Statement Re: Mediation and Settlement filed by Petitioner Ernest
                 DeWayne Jones (Plunkett, Cliona) (Entered: 06/05/2014)
06/09/2014   107 RESPONSE filed by Respondent Kevin Chappellto Order, 103 Opening Brief on
                 Claim 27 that Lengthy Confinement of Petitioner Under Sentence of Death Violates
                 Eighth Amendment (Tetef, Herbert) (Entered: 06/09/2014)
06/09/2014   108 APPLICATION to Exceed Page Limitation Petitioner's Opening Brief on Claim 27
                 filed by Petitioner Ernest DeWayne Jones. (Attachments: # 1 Proposed
                 Order)(Plunkett, Cliona) (Entered: 06/09/2014)
06/09/2014   109 BRIEF filed by Petitioner Ernest DeWayne Jones. Opening Brief on Claim 27
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Plunkett, Cliona) (Entered:
                 06/09/2014)
06/11/2014   110 ORDER AMENDING BRIEFING SCHEDULE AND SETTING HEARING ON
                 CLAIM 27 by Judge Cormac J. Carney: Accordingly, the briefing schedule on Claim
                 27 is hereby amended as follows: 3. The hearing on Claim 27 is scheduled for August
                 4, 2014 at 11 a.m. (see document for complete details) (Attachments: # 1 Supplement)
                 (mu) (Entered: 06/11/2014)
06/11/2014   111 ORDER by Judge Cormac J. Carney: granting 108 Application for Leave to File
                 Excess Pages. GOOD CAUSE APPEARING, Petitioners Ex Parte Application to File
                 Petitioners Opening Brief on Claim 27 in Excess of Page Limits is HEREBY
                 GRANTED. (twdb) (Entered: 06/12/2014)
07/01/2014   112 RESPONSE filed by Respondent Kevin Chappellto Brief (non−motion non−appeal)
                 109 RESPONDENT'S RESPONSIVE BRIEF ON CLAIM 27 (Tetef, Herbert) (Entered:
                 07/01/2014)
07/03/2014   113 RESPONSE filed by Petitioner Ernest DeWayne Jonesto Response (non−motion) 107
                 to Respondent's Opening Brief on Claim 27 (Attachments: # 1 Appendix Death
                 Sentences in California, 1978−1997 (Revised))(Laurence, Michael) (Entered:
                 07/03/2014)
07/03/2014   114 ORDER AMENDING BRIEFING SCHEDULE AND ADVANCING HEARING ON
                 CLAIM 27 by Judge Cormac J. Carney: Accordingly, the parties are hereby relieved of
                 their obligation to file reply briefs. Moreover, the hearing on Mr. Joness claim,
                 previously set for August 4, 2014 at 11 a.m. is hereby advanced to July 16, 2014 at 9
                 a.m. (see document for details) (mu) (Entered: 07/07/2014)
07/09/2014   115 NOTICE of Appearance filed by attorney James W Bilderback, II on behalf of
                 Respondent Kevin Chappell (Attorney James W Bilderback, II added to party Kevin
                 Chappell(pty:res))(Bilderback, James) (Entered: 07/09/2014)
07/14/2014   116 DECLARATION of Michael Laurence re Brief (non−motion non−appeal) 109 in
                 Support of Claim 27 (Supplemental) filed by Petitioner Ernest DeWayne Jones.
                 (Attachments: # 1 Appendix Data Used in Declaration of Michael
                 Laurence)(Laurence, Michael) (Entered: 07/14/2014)
07/16/2014   117 ORDER DECLARING CALIFORNIAS DEATH PENALTY SYSTEM
                 UNCONSTITUTIONAL AND VACATING PETITIONERS DEATH SENTENCE by
                 Judge Cormac J. Carney: Accordingly, the Court hereby VACATES Mr. Joness death
                 sentence. (see document for details) (Attachments: # 1 Supplement) (mu) (Entered:
                 07/16/2014)
07/16/2014   118 MINUTES OF Motion RE CLAIM 27 Hearing held before Judge Cormac J. Carney:
                 Order issued to counsel before hearing held. Motion hearing held. Court confers with
                 counsel. Court hears oral argument. Mr. Bilderback makes an oral motion for the
                 Court to stay its order pending the interlocutory appeal. Court denies the motion. Final
                 order signed and filed this date. Court directs the parties to prepare and submit a
                 proposed partial judgment with certification as stated on the record within two weeks.
                 Court Reporter: Maria Dellaneve. (twdb) (Entered: 07/17/2014)
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07/18/2014   119 *CORRECTED TRANSCRIPT IS ATTACHED TO DOCKET ENTRY
                 121*TRANSCRIPT for proceedings held on July 16, 2014. Court Reporter/Electronic
                 Court Recorder: MARIA DELLANEVE, phone number 714−564−9259. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Electronic Court Recorder before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Notice of Intent to
                 Redact due within 7 days of this date. Redaction Request due 8/8/2014. Redacted
                 Transcript Deadline set for 8/18/2014. Release of Transcript Restriction set for
                 10/16/2014. (Dellaneve, Maria) Modified on 7/22/2014 (lwag). (Entered: 07/18/2014)
07/18/2014   120 NOTICE OF FILING TRANSCRIPT filed for proceedings JULY 16, 2014 re
                 Transcript 119 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                 ENTRY. (Dellaneve, Maria) TEXT ONLY ENTRY (Entered: 07/18/2014)
07/22/2014   121 TRANSCRIPT for proceedings held on July 16, 2014. Court Reporter/Electronic
                 Court Recorder: MARIA DELLANEVE, phone number 714−564−9259. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Electronic Court Recorder before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Notice of Intent to
                 Redact due within 7 days of this date. Redaction Request due 8/12/2014. Redacted
                 Transcript Deadline set for 8/22/2014. Release of Transcript Restriction set for
                 10/20/2014. (Dellaneve, Maria) (Entered: 07/22/2014)
07/22/2014   122 NOTICE OF FILING TRANSCRIPT filed for proceedings JULY 16, 2014 re
                 Transcript 121 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                 ENTRY. (Dellaneve, Maria) TEXT ONLY ENTRY (Entered: 07/22/2014)
07/25/2014   123 STIPULATION for Judgment as to Claim 27 filed by Petitioner Ernest DeWayne
                 Jones.(Laurence, Michael) (Entered: 07/25/2014)
07/25/2014   124 FINAL JUDGMENT ON CLAIM 27 (FRCP 54(b)) by Judge Cormac J. Carney:
                 Pursuant to the Courts Order Declaring Californias Death Penalty System
                 Unconstitutional and Vacating Petitioners Death Sentence, July 16, 2014, ECF No.
                 117, Petitioners Claim 27 is GRANTED and his death sentence is VACATED. (see
                 document for details) (mu) (Entered: 07/25/2014)
08/11/2014   125 NOTICE OF APPEAL from Order Declaring California's Death Penalty System
                 Unconstitutional, to the 9th CCA filed by Petitioner Ernest DeWayne Jones. Appeal of
                 Order 117 Filed On: 7/16/14; Entered On: 7/17/14; Filing fee $505, PAID, receipt
                 number LA101326. (mat) (Entered: 08/11/2014)
08/12/2014   126 NOTIFICATION by Circuit Court of Appellate Docket Number 14−56302, 9th CCA
                 regarding Notice of Appeal to 9th Circuit Court of Appeals 125 as to Petitioner Ernest
                 DeWayne Jones. (mat) (Entered: 08/14/2014)
08/12/2014   127 ORDER from 9th CCA filed re: Notice of Appeal to 9th Circuit Court of Appeals, 125
                 filed by Ernest DeWayne Jones, CCA # 14−56302. The Order is By August 26, 2014,
                 non−parties Emery Soos and Robert Justice shall move in this Court for voluntary
                 dismissal of this appeal or explain in writing why the appeal should not be dismissed
                 for lack of jurisdiction due to their lack of standing to appeal. All filings must be
                 served on all parties to the district court proceeding. Failure to comply with this order
                 will result in the automatic dismissal of the appeal. Order received in this district on
                 8/12/14. [See document for all details] (mat) (Entered: 08/14/2014)
08/21/2014   128 NOTICE OF APPEAL to the 9th CCA filed by Respondent Kevin Chappell. Appeal of
                 Order, 117 , Order, 124 (Appeal fee FEE NOT PAID.) (Attachments: # 1 Exhibit
                 Attachment 1 − Judgment and Order, # 2 Exhibit Attachment 2 − Appendix
                 A)(Bilderback, James) (Entered: 08/21/2014)
08/21/2014         APPEAL FEE PAID: as to Appellant Kevin Chappell; Receipt Number: LA101954 in
                   the amount of $505. (rsm) Modified on 8/22/2014 (cp). (Entered: 08/21/2014)
08/21/2014   129 NOTIFICATION by Circuit Court of Appellate Docket Number 14−56373, 9TH CCA
                 regarding Notice of Appeal to 9th Circuit Court of Appeals, 128 as to Respondent
                 Kevin Chappell. (car) (Entered: 08/22/2014)
08/22/2014   130 NOTICE OF CLERICAL ERROR: Due to clerical error the $505 fee for the Notice of
                 Appeal (#128) was submitted by appellant Kevin Chappell. However, the docket entry
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            erroneously listed appellee, Ernest DeWayne Jones as having paid the filing fee. The
            docket entry has been corrected to reflect Kevin Chappell as the payer. (dmap)
            (Entered: 08/22/2014)
